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                EXHIBIT C
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                                                                                        US010203854B2

(12) United States Patent                                            (10) Patent No.: US 10 ,203,854 B2
     Rad et al.                                                      (45) Date of Patent:                     * Feb . 12 , 2019
(54 ) MATCHING PROCESS SYSTEM AND                                (58 ) Field of Classification Search
      METHOD                                                           CPC ....... ... GO6F 17 /30867 ; G06F 17 /3053; G06F
                                                                                                                   17/30386
(71) Applicant: Match Group , LLC , Dallas, TX (US )                   See application file for complete search history .
(72 ) Inventors: Sean Rad , Los Angeles, CA (US );
                  Todd M . Carrico, Sachse, TX (US );            (56 )                   References Cited
                 Kenneth B . Hoskins , Plano, TX (US);                            U . S . PATENT DOCUMENTS
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                  Jonathan Badeen , North Hollywood ,                    6 ,480 ,885 B1 11 /2002 Olivier
                  CA (US )                                               7 , 917 ,448 B23 /2011 Smola et al.
(73 ) Assignee : Match Group , LLC , Dallas, TX (US )                                       (Continued )
( * ) Notice: Subject to any disclaimer, the term of this                          OTHER PUBLICATIONS
                  patent is extended or adjusted under 35        PCT Notification of Transmittal of the International Search Report
                  U .S .C . 154 (b ) by 0 days.                  and the Written Opinion of the International Searching Authority , or
                  This patent is subject to a terminal dis       the Declaration with attached PCT International Search Report and
                  claimer .                                      Written Opinion of the International Searching Authority in Inter
                                                                 national Application No. PCT/US08 /87706 , dated Feb . 10 , 2009, 8
( 21) Appl. No.: 15 /944 ,542                                    pages .

(22) Filed : Apr. 3 , 2018                                                                  (Continued )
(65 )                Prior Publication Data                      Primary Examiner — Yuk Ting Choi
      US 2018/0292981 A1 Oct. 11, 2018                           (74 ) Attorney , Agent, or Firm — Baker Botts L .L .P .
            Related U . S . Application Data                     (57)                   ABSTRACT
(63 ) Continuation of application No. 15/676 ,773 , filed on     A method for profile matching includes receiving a plurality
      Aug . 14 , 2017 , which is a continuation of application
                        (Continued )                             of user profiles, each user profile comprising traits of a
                                                                 respective user. The method includes receiving a preference
(51) Int. CI.                                                    indication for a first user profile of the plurality of user
     G06F 17 / 30              (2006 .01)                        profiles. The method also includes determining a potential
      G06F 3 /0484             ( 2013 .01)                       match user profile of the plurality of user profiles based on
                                                                 the preference indication for the first user profile . The
                        (Continued )                             method also includes presenting the potential match user
(52) U .S . CI.                                                  profile to a second user.
       CPC . ...... G06F 3/04842 (2013.01); G06F 3/0482
                        (2013.01); G06F 3/0488 (2013.01);
                        (Continued )                                             12 Claims, 11 Drawing Sheets


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                                        tinder                                 tinder
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                                 84 m
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                                                          US 10 ,Page
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                   ( 2013 .01 ); G06Q 10 / 10 (2013 .01); G06Q            Request for Continued Examination Transmittal and Amendment
                    30 /02 ( 2013 .01); G06Q 50 /01 ( 2013 .01) ;          Filed with Request for Continued Examination filed May 7 , 2012
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                           TERMINAL
                                  10

                                                           100
                                                                          MATCHING
                                                                           SERVER
                                                                               20
                                       ,2224
                       TERMINAL                                    22
                             10
                                             NETWORK


                                         22 FIG . 1A




                                                                    . . .. .   . .   . ...




                                                    26a                 CPU
         12                                                   26
                 DISPLAY
                                                                        CPU - 28
              www
                 INTERFACE                          261


           FIG . 1B                                       Nuwwwwwwwww




                                                       FIG . IC
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                     NAME               PROPERTY 1 PROPERTY 2000
                 Jane Doe30a                                            Lr 26a
                 Jane Roe30b
                  Jane Boe - - 300
                 JaneLoe _ 30d
                  Jane Snoen 30e

                                     FIG . ID

                                  SEARCH RESULTS

                     1. Jane Doer 31a View 33                      34      12
                 313 2. Jane Roer-316 View 33 ? 34
                     3. Jane Boen_316 View 33 h 34
                                                     See More

                                     FIG . IE

                                                    Jane Doe
                                                         Contact   35     . 12
                                                          X 36
                     Born : 10 / 01 / 75
                     Hometown : Dallas , TX
                     Likes : Chocolate , rollerblading
                     Dislikes : Body odor, arrogance, football
                                     FIG . IF
    Case 6:21-cv-00147-ADA Document 15-4 Filed 04/22/21 Page 6 of 29


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                                        * ** ** *    *** * * * ***   * * * *   * *
                                                                                                                                                                                                T


                                                    SEARCH RESULTS                                                                                                                     w




            ELK Y                   Jane Doe                                                                                                                                           wwwhwiatranm

                             37 Jane Boe                                                                                                                                                         wit
                                                                                                                                                                                                   /




                                    Jane Loe                         Sally recommended her
                                                                                                                                                                                         WAK MER
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                                                                                                                                                                                         than
                                                                                                                                                                                         more
                                      HARRY'S SEARCH RESULTS

                                    Jane Doe                                                                                                                                             internetowy anyone
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                                                                                                                                                                                         en
                                                                                                                                                                                         ger
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                             31 Jane Boe Recommend                                                                                                                                       er
                                                                                                                                                                                         KIK
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            Ara                     JaneLoe Recommend                                                                                                                                    monum


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                                                                                                                              .       Send her an email.
                                        waiting for you to
                                       reply to her e -mail.
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       WW           .
                                                                               VINO .          .   .       T                      IRANA

                                      Physical Compatibility : High

            Location
                                      Intellectual Compatibility : High
                                      Values Compatibility : Moderately High                                                                    49 * 4
                                                                                                                                             RETUMW
                                                                                                                                               II .              .     '.   .
                                                                                                                                                                                * 111
                                                                                                                                                                                 AMUNY
                                                                                                                                                                                      *
                                                                                                                                                                                                                  w
       Gender/Age Seeking            Is it fate ? * * * *                                                                                                                                            . .




                                      You and whandle > both like music , speak German ,
                                     and mentioned "Play - doh " in your profiles .
                                         44444444LLLLLLLLLL .                                              ?????????????????????? ? •
    Case 6:21-cv-00147-ADA Document 15-4 Filed 04/22/21 Page 7 of 29


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                                        NETWORK


                                       FIG . 4


                                      Why




                                     GENERATE POOL Fou
                                       APPLY FILTER
                                     APPLY SCORING
                                       ALGORITHMS

                                     TABULATE SCORES

                                     APPLY ORDERING
                                       ALGORITHM            70
                                      PRESENT LIST
                                       OF RESULTS           72
                                        WAIT FOR
                                      USER ACTIVITY         74

                                       FIG . 5
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                                               - 10
                              . .




                          tinder                                        tinder
                 Sally
                                       1      - 88                               I           88
                                                                  NOPF
                                                           w
                  X ) (i) (?
        AAAAAAAALAMAN




                   840

                        FIG . 6                                       FIG . 7

                                                                                            - 10

                         tinder                                        tinder
                                                                It's a match !
                         LIKI
                                                               You and Sally Ideal         + 92
                                                                Send A Message
                                                                         or      _           94
                                                                 Keep Playing



                        FIG . 8                                       FIG . 9
    Case 6:21-cv-00147-ADA Document 15-4 Filed 04/22/21 Page 9 of 29


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                                                                   [ 1002
                                 GENERATE USER POOL
                                                                   - 1004
                                  DISPLAY USER POOL
                                                                     1006
                              RECEIVE USER PREFERENCE
                                                    www




                                                          r 1008
                                  FIRST
                       YES USER LIKES                               NO
                                      SECOND
                                 USER ?



                                   1010
    YES              SECOND               NO
            USER LIKES FIRST
                     USER ?


                          1012                                           1014
          ALLOW COMMUNICATION                         STORE FIRST
                                                   USER 'S PREFERENCE
                 w




                                                                         1016
                                                     DO NOT ALLOW
                                                     COMMUNICATION
                                         FIG . 10
    Case 6:21-cv-00147-ADA Document 15-4 Filed 04/22/21 Page 10 of 29


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                                     C1102
                           RECEIVE PAIR OF USER
                                IDENTIFIERS

                                                   1104 NO
                     OK               VALIDATE
                                      MATCH ?

                               1106                           ( 1108
                ALLOW                              DO NOT ALLOW
            COMMUNICATION                         COMMUNICATION

                                      FIG . 11
    Case 6:21-cv-00147-ADA Document 15-4 Filed 04/22/21 Page 11 of 29


U . S . Patent                    Feb . 12 , 2019        Sheet 8 of 11                    US 10,203,854 B2



                                                             -     - -   -

                              "   "   "    "




                                          Matchmaker                         Sent Matches

                                               "




      1206N                                    "




                                               "




                 -


                     -


                         --




                     Tap on a friend
      1204N
                 ( Q Search

                     "
                     "
                                                                                -




                                                                                -


                                                                               -
                                                                               -




      1202       Ashok Kumar                           John Stiles                   Clark Kent




                 Richard Miles                          John Doe                    Steve Rogers
                                                       FIG . 12A
    Case 6:21-cv-00147-ADA Document 15-4 Filed 04/22/21 Page 12 of 29


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                                                                      W    WA




                 Matchmaker                         Sent Matches


     Ww
     w
                                                                                t 1206

             Jonathan             Tap on a friend
              Smith
                                                                                t 1204
          ( Q Search




          Ashok Kumar              John Stiles           Clark Kent              1202




          Richard Miles             John Doe            Steve Rogers
                                  FIG . 12B
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                     Matchmaker                           SentMatches
                                  MOON




    1206


                 Jonathan                Ma                     Make a Match !
                  Smith                                          When




   1204
            ( Q Search
                                                  wwwwwwwwwww




   1202


             Ashok Kumar                 John Stiles                Clark Kent



             Richard Miles               John Doe                Steve Rogers
                                      FIG . 120
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             M




                         Recent
                         Recent                     A-Z
                                                    A-Z


                            Ashok
                           "Hey!How 'sit going ?My nam..."Wt 1208

            .
            ww
                             John
                            Matched on 12/4               at 1208
            w




                             Jonathan
                            Matched on 12 /4
                          by : Ashok Kumar
                                                          Ot 1208
                       W Ryan
                          Match Pending...
                        * by: Sean Rad




                                     FIG . 12D
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                                                         US 10 , 203 ,854 B2
        MATCHING PROCESS SYSTEM AND                                         Too many nuisance requests may deter the user from further
                 METHOD                                                     use of the system . Users with the most attractive profiles are
                                                                            oftentimes the ones that receive the most unwanted atten
                  RELATED APPLICATION                               tion . If the users with themost attractive profiles cease to use
                                                                  5 the system , the quality of the user pool deteriorates .
   This application is a continuation of U .S . application Ser.
No. 157676 ,773 filed Aug . 14 , 2017 and entitled “Matching                                   SUMMARY
Process System And Method ,” which is a continuation of
U .S . application Ser. No. 14 /059, 192 filed Oct. 21 , 2013 and      In one embodiment, a method for profile matching com
entitled “ Matching Process System and Method ;" which (a ) 10 prises receiving a plurality of user profiles, each user profile
is a continuation - in -part of U .S . application Ser. No . 12 /339 ,      comprising traits of a respective user. It also comprises
301 filed Dec . 19 , 2008 and entitled “Matching Process                    receiving a preference indication for a first user profile of the
System and Method ,” now U . S . Pat. No. 8 , 566 , 327 , which             plurality of user profiles . It further comprises determining a
claimsbenefit under 35 U .S . C . $ 119 (e ) to U . S . Provisional potential match user profile of the plurality of user profiles
Application Ser. No . 61/015 ,099, entitled “ Matching Pro - 15 based on the preference indication for the first user profile.
cess System And Method ,” filed Dec . 19 , 2007 ; and ( b )                 The method also comprises presenting the potential match
claims benefit under 35 U . S . C . 119 ( e ) to U . S . Provisional
Application Ser. No. 61/ 793, 866 filed Mar. 15 , 2013 and                  user profile to a second user.
entitled “ Social Matching System and Method ."                               Receiving a preference indication for a first user profile
                                                                         20 may include receiving from a third user a recommendation
                   TECHNICAL FIELD                                          of the first user profile for the second user. It may also
                                                                            include receiving from the second user a preference indica
   This invention relates generally to computer matching                    tion for the first user profile. Themethod may further include
systems and more particularly to a matching process system     determining a score of a third user profile of the plurality of
and method .                                                25 user profiles as a potentialmatch for the second user. It may
                                                               also include altering the score of the third user profile based
                      BACKGROUND                               on the preference indication for the first user profile .
                                                                   In another embodiment, a method for profile matching
   Networking architectures have grown increasingly com - comprises receiving a plurality of user profiles , each user
plex in communications environments . In recent years, a 30 profile comprising traits of a respective user. The method
series of protocols and configurations have been developed      further comprises receiving a request for matches from a
in order to accommodate a diverse group of end users having     first user, the first user associated with a first user profile .
various networking needs. Many of these architectures have      The method also comprises scoring the plurality of user
 gained significant notoriety because they can offer the profiles         for potential matching with the first user based on
benefits of automation , convenience , management, and 35 comparisons           of the plurality of user profiles with the first
enhanced consumer selections.                                   user profile . It also comprises identifying a second user
   Certain network protocols may be used in order to allow
an end user to conduct an on -line search of candidates to fill profile of the plurality of user profiles as a potential match
a given vacancy. These protocols may relate to job searches for the first user based on the scoring . The method further
person finding services. real estate searches , or on -line 40 comprises identifying commonality between a third user
dating. While some believe that on -line dating is simply a                 profile of the plurality of user profiles and the second user
matter of matching supply and demand , there is statistical                 profile . In addition , the method comprises presenting to the
and empirical evidence to suggest that successful on -line                  first user the third user profile as a potential match for the
dating entails far more .                                                   first user.
   For example , people having similar and/or compatible 45                    Depending on the specific features implemented , particu
character traits and values should be matched together.                     lar embodiments may exhibit some, none, or all of the
However, effectively linking two participants together can                  following technical advantages. Various embodiments may
prove to be a challenging endeavor. Coordinating a relation     be capable of dynamically updating match search results
ship between two like-minded individuals can be a signifi- based on user activity . Some embodiments may be capable
cant chore , as there are a number of obstacles and barriers 50 of enhancing match search results by reducing the impact of
that must be overcome.                                          restrictive user preferences. In addition , some embodiments
   One problem that has arisen is that matching services are may provide the ability to evaluate the attractiveness of
limited to searching for matches only within their own potential matches. Various embodiments may be capable of
platform . Thus, only people who have gone through the                      importing user profiles from other social-networking sys
process of signing up for the service are searched for a 55 tems. Some embodiments may be capable of generating the
match . One solution to this problem is to have users register              pool of users based on both explicit and implicit criteria
in multiple services . This is problematic because it can be                derived from other social networking systems. Other tech
expensive and time consuming for users . Further, the user                 n ical advantages will be readily apparent to one skilled in the
must then visit all of the services to monitor the search                   art from the following figures, description and claims.
progress: this inefficiency may cause users to give up on the 60
search process.                                                                   BRIEF DESCRIPTION OF THE DRAWINGS
   Another problem is that the search results of these ser
vices contain many irrelevant entities to the searcher. This                  Reference is now made to the following description taken
costs the user of the service time and may deter them from    in conjunction with the accompanying drawings , wherein
continuing through all of the search results .             65 like reference numbers represent like parts , and which :
   Another problem is that large numbers of unwanted             FIG . 1A is an overview of one embodiment of the
communication requests can become a nuisance to the user                   matching system ;
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                                                   US 10 , 203 ,854 B2
   FIG . 1B shows the contents of the terminal from FIG . 1A ;      example ) associated with other users in order to make
   FIG . 1C shows the contents of the matching server from          matching decisions or elections. Data , as used herein , refers
FIG . 1A ;                                                          to any type of numeric , voice , video , text, or script data , or
   FIG . 1D is a diagram of a database from FIG . 1C showing        any other suitable information in any appropriate format that
one embodiment of how a matching server stores a pool; 5 may be communicated from one point to another.
   FIG . 1E is a diagram of the display from FIG . 1B showing          In one embodiment, terminal 10 represents ( and is inclu
one embodiment of the presentation of search results to a           sive of) a personal computer that may be used to access
user ;                                                              network 24 . Alternatively , terminal 10 may be representative
   FIG . 1F is a diagram of the display from FIG . 1B showing       of a cellular telephone , an electronic notebook , a laptop , a
one embodiment of the presentation of details of a match 10 personal digital assistant (PDA ), or any other suitable device
result entity to a user;                                          (wireless or otherwise : some of which can perform web
   FIG . 2 is a diagram depicting how a user may recommend browsing) , component, or element capable of accessing one
an entity to another user, in accordance with a particular or more elements within system 100. Interface 16 , which
embodiment;                                                       may be provided in conjunction with the items listed above ,
   FIG . 3 is a diagram of the display from FIG . 1B depicting 15 may further comprise any suitable interface for a human user
how the user may be made aware of fate characteristics the such as a video camera , a microphone, a keyboard , a mouse ,
user shares with a match result entity , in accordance with a or any other appropriate equipment according to particular
particular embodiment;                                            configurations and arrangements . In addition , interface may
   FIG . 4 is a diagram depicting how two platformsmay be be a unique element designed specifically for communica
searched for a match , in accordance with a particular 20 tions involving system 100 . Such an element may be fab
embodiment;                                               ricated or produced specifically for matching applications
  FIG . 5 is a flow chart indicating how a result list may be       involving a user.
generated , in accordance with a particular embodiment;               Display 12 , in one embodiment, is a computer monitor.
   FIG . 6 shows one embodiment of the matching system              Alternatively , display 12 may be a projector, speaker, or
displaying to a user the profile information of a second user ; 25 other device that allows user 14 to appreciate information
   FIG . 7 is a diagram of the display from FIG . 6 showing        that system 100 transmits .
the effect of a left swipe gesture;                                  Network 24 is a communicative platform operable to
   FIG . 8 is a diagram of the display from FIG . 6 showing exchange data or information emanating from user 14 .
the effect of a right swipe gesture ;                              Network 24 could be a plain old telephone system (POTS ).
   FIG . 9 shows the matching system displaying a match of 30 Transmission of information emanating from the user may
a first user and a second user, in accordance with a particular be assisted by management associated with matching server
embodiment;                                                     20 or manually keyed into a telephone or other suitable
   FIG . 10 is a flowchart depicting a method for enabling electronic equipment. In other embodiments , network 24
communication between two users of the matching system     could be any packet data network offering a communications
of FIG . 1 based on a mutual expression of approval, in 35 interface or exchange between any two nodes in system 100 .
accordance with a particular embodiment;                            Network 24 may alternatively be any local area network
   FIG . 11 is a flowchart depicting a method for enabling          (LAN ), metropolitan area network (MAN ), wide area net
communication between two users of the matching system              work (WAN ), wireless local area network (WLAN ), virtual
of FIG . 1 based on a user suggested matching proposal, in          private network (VPN ) , intranet , or any other appropriate
accordance with a particular embodiment; and                     40 architecture or system that facilitates communications in a
   FIGS . 12A - D depict embodiments of a user interface .          network or telephonic environment, including a combination
                                                                    of any networks or systems described above . In various
                DETAILED DESCRIPTION                                embodiments , network connections 22 may include, but are
                                                                    not limited to , wired and / or wireless mediums which may be
  Referring to FIG . 1A , one embodiment of a matching 45 provisioned with routers and firewalls.
system is shown . FIG . 1A is a simplified block diagram of      Matching server 20 is operable to receive and to commu
a system 100 for facilitating an on -line dating scenario in a nicate information to terminal 10 . In some embodiments ,
network environment. In other embodiments , system 100              matching server 20 may comprise a plurality of servers or
can be leveraged to identify and to evaluate suitable candi-          other equipment, each performing different or the same
dates in other areas ( e .g . hiring /employment, recruiting, real 50 functions in order to receive and communicate information
estate , general person searches , etc .). Users 14 interact with     to terminal 10 . Matching server 20 may include software
a matching server 20 through terminals 10 . FIG . 1B is a and /or algorithms to achieve the operations for processing ,
diagram showing, in one embodiment, the contents of ter -         communicating, delivering, gathering, uploading, maintain
minal 10 . Terminal 10 comprises interface 16 (so that user ing, and /or generally managing data , as described herein .
14 may be able to interact with terminal 10 ) and display 12 . 55 Alternatively , such operations and techniques may be
FIG . 1C is a diagram showing, in one embodiment, the             achieved by any suitable hardware , component, device ,
contents of matching server 20 . Matching server 20 com - application specific integrated circuit (ASIC ), additional
prises memory 26 and at least one CPU 28 . Memory 26 may            software , field programmable gate array (FPGA ) , server,
store multiple databases, such as databases 26a and 26b . processor , algorithm , erasable programmable ROM
Terminal 10 and matching server 20 are communicatively 60 (EPROM ), electrically erasable programmable ROM (EE
coupled via network connections 22 and network 24 .             PROM ), or any other suitable object that is operable to
   Users 14 are clients , customers , prospective customers, or facilitate such operations.
entities wishing to participate in an on -line dating scenario         In some embodiments, user 14 , using terminal 10 , regis
and/ or to view information associated with other participants      ters with matching server 20 . Registration may include user
in the system . Users 14 may also seek to access or to initiate 65 14 submitting information to matching server 20 about user
a communication with other users that may be delivered via           14 as well as characteristics user 14 is seeking to be matched
network 24 . Users 14 may review data ( such as profiles, for       with . Such information may include a user handle, which
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may be a combination of characters that uniquely identifies         server 20 provide more information about an entity in result
user 14 to matching server 20 . In various embodiments,             list 31 by pressing the associated view button 33 . Matching
matching server 20 may be configured to collect this infor-         server 20 may then communicate to user 14 more informa
mation ; for example , matching server 20 may be configured         tion about that entity by retrieving the information from
to ask user 14 to respond to a series of questions . Matching 5 memory 26 . In FIG . 1F, one embodiment of information that
server 20 may be configured to receive the information              matching server 20 provides for user 14 is shown. Using
submitted by user 14 and create a profile for user 14 based         display 12 , user 14 views an entity from result list 31.
on that information , storing the profile in memory 26 .             Matching server 20 may also provide user 14 with the ability
  As an example only, consider a case where user 14 is               to contact the entity through a contact button 35 . In one
interested in participating in an on -line dating scenario . User 10 embodiment, when contact button 35 is utilized by user 14 ,
14 can access the Internet via terminal 10 , travel to a web matching server 20 may provide user 14 with contact
site managed by matching server 20, and begin the regis -           information of the entity such as a telephone number or an
tration process. As part of the registration process , matching     e -mail address ; in another embodiment, matching server 20
server 20 may ask user 14 a series of questions which               may provide user with a way to directly contact the entity ,
identifies characteristics about user 14 . Thus , matching 15 such as sending a message or providing voice or video
server 20 may ask about the height, weight, age , location ,      communication between user 14 and the entity . Even further,
and ethnicity of user 14 . It may also ask about the birthplace , matching server 20 may be configured to allow user 14 to
parents , eating habits , activities, and goals of user 14 . express a negative preference for the entity through dislike
Matching server 20 may further use the registration process button 36 . In one embodiment, when , for example , dislike
to discover whatuser 14 may be looking for in a match , such 20 button 36 is utilized by user 14 , matching server 20 may
as age , weight, height, location , ethnicity , diet, education ,   remove the entity from result list 31; in another embodiment,
etc . Further, matching server 20 may ask user 14 to indicate       the entity may be removed from pool 30 of users from which
how important certain factors are when looking for a match .        matches are identified .
For example , matching server 20 may allow the user to          As an example only , consider that user 14 has submitted
indicate which characteristics in a potential match are a 25 a search request to matching server 20 . Matching server 20
necessity . In another example , matching server 20 may ask , may search through pool 30, identify results , and commu
“ How important is it that your match does not smoke ?”             nicate result list 31 to user 14 which would contain other
Matching server 20 may also allow the user to indicate that         users for whom matching server 20 had created a profile and
certain characteristics are not important search criteria . For     who were identified through a search and selection process.
example , when asking user 14 about what height or weight 30 Next, user 14 may be interested in learning more about Jane
user 14 is seeking in a match , matching server 20 may be           Doe , entity 31a ; thus, user 14 would click view button 33
configured to receive “ not important” as a response . In yet       associated with Jane Doe.Matching server 20 would receive
another example , matching server 20 may allow user 14 to           this request and respond by displaying Jane Doe's profile
rate which factors are important on a numerical scale . For          stored in memory 26 ), as depicted in FIG . 1F . Next, after
example , matching server 20 may ask user 14 the following : 35 reading the profile , user 14 may be interested in contacting
" On a scale of 1 - 10 , how important is it that your match has  Jane Doe ; hence , user 14 would click contact button 35 .
the same education level as you ?" In some embodiments ,         Matching server 20 would respond by allowing user 14 enter
matching server 20 may specify that any number of ques -         a message that matching server 20 would then communicate
tions or requested descriptions are necessary before regis -        to Jane Doe .
tration may be concluded . As an example only, matching 40 Matching server 20 may even further be configured to
server 20 may require that user 14 communicate the sex of allow user 14 to store a match result entity ; in one embodi
user 14 and the sex user 14 prefers to be matched with . After ment, the system may be configured to allow user 14 to
concluding the registration process , matching server 20 may   utilize favorite button 34 that will add the desired match
store the responses of user 14 as a profile. This sameprocess       result entity into another list. In another embodiment, uti
may be repeated by several different users 14 , causing 45 lizing favorite button 34 will remove the associated match
matching server 20 to contain a plurality of profiles.              result entity from result list 31.
   FIG . 1D depicts an embodiment in which matching server             As an example only, user 14 may decide that he would
20 has a database 26a which contains a pool 30 . Each entry         like to save Jane Doe ' s profile so that he can review it later.
in database 26a has a pool entity 30a along with information        User 14 may click favorite button 34 , and matching server
concerning that entity . In one embodiment, each pool entity 50 20 may respond by placing Jane Doe ' s profile into a separate
 30a- e represents a user and their profile . In some embodi-       list. Further, matching server 20 may also remove Jane Doe
ments, not all registered users are in pool 30 . As discussed       from user 's 14 result list 31. As a result , user 14 may see
further below , matching server 20 may use a selection              another match result entity populate result list 31. This is
process for including stored profiles in pool 30 . As depicted   beneficial because it may focus user 14 on evaluating new
in FIG . 1D , in this embodiment, the collection of users and 55 entities rather than reevaluating previously -known entities
profiles forms pool 30 through which matching server may because the entities still appear in result list 31 .
perform various functions such as searches for matches .               In some embodiments, matching server 20 may be con
  Matching server 20 may be configured to search through            figured to generate pool 30 by default according to various
pool 30 and present matches to user 14 . In FIG . 1E , one          characteristics and preferences of user 14 and other users of
embodiment of this presentation is depicted as occurring 60 the system . Matching server 20 may also restrict entities
through display 12 . In various embodiments, matches may            from being included in pool 30 based on the status of the
be presented to user 14 utilizing other communication               profile , or if user 14 has rejected or blocked an entity .
schemes , such as electronic messages (i.e ., e -mail) or text      Matching server 20 may also restrict entities from the pool
messages (i.e ., utilizing SMS ). In the depicted embodiment,       that have blocked or rejected user 14 . For example , match
a result list 31 is presented to user 14 . A match result entity 65 ing server 20 may not allow profiles that are not in good
31a in a result list 31 may be associated with a view button        standing to be included in pool 30 . In other embodiments ,
33. Using interface 16 , user 14 may request thatmatching           matching server 20 may be configured to generate pool 30
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by first choosing seeds. Seeds include , butare not limited to ,     user (Bob ) had indicated a positive preference toward both
profiles that user has sent a message to or profiles that user       Lucy and Jane. Continuing the example , matching server 20
14 has expressed a preference for. Each seed is then com -           is using a commonality threshold score of 70 , which results
pared to other entities to determine which entities will be          in including Susan ' s profile (whose commonality score was
included in pool 30 . Any suitable method can be used to 5 greater than the threshold score ) in pool 30 and excluding
determine which entities are included in pool 30 . For     Lucy ' s (whose commonality score was less than the thresh
example , any characteristics or algorithms described herein         old score ). Thus , user 14 gets the benefit of having more
may form the basis of such a determination . As another              entities identified that may be good matches.
example , a commonality score may be generated based on                 In some embodiments, matching server 20 may be con
the comparison between each entity and the seed . In some 10 figured to include behavioral scales. These may include
embodiments, this commonality score can be a measure of              multi -item scales for materialism and gender -role tradition
how physically similar the users are to each other. This score      a lism . Such scales may provide the advantage of improved
may be generated based on the number of users that have             matching through deeper appreciation for the personality of
expressed a positive preference for both the seed and the            entities in the system .
entity being compared . This score may also be generated 15             In some embodiments, matching server 20 may be con
based on whether the seed and entity have been viewed                figured to analyze profile text for categories. It may search
together in one session ; further, the more times the seed and       for a number of text strings and then associate the profile
entity have been viewed together, the larger the common              with any number of categories . As an example only , match
ality score . The law of large numbers may allow for a vast ing server 20 may add any profile to the Cat category whose
amount of such commonalities to be established over a few 20 text contains any of the following strings :
days. Testing has revealed that using such commonality         " cat" " cats” " cat." " cats." " cat," " cats ,”
scoring methods has yielded at least one physical match for         Matching server 20 may be configured to make it more
80 % of users whose profile has been viewed at least once ,          likely that a profile will be in a result list if categories
and between and 1000 physical matches for 60 % of users              associated with the profile are also categories found in the
whose profile has been viewed at least once . Matching 25 user ' s profile who submitted the search request.
server 20 may be further configured to allow entities that  Matching server 20 may be configured to analyze one or
have a commonality score above a certain threshold to                more portions of the text of an entity ' s profile and generate
become a part of pool 30 . Matching server 20 may further            a readability score that may be used in various ways , such
be configured to update pool 30 . In some embodiments ,              as in the process of searching for matches for user 14 . In
matching server 20 may do so by creating new seed entities 30 some embodiments , matching server 20 may analyze factors
based on activity by user 14 , such as indicating a preference       such as, but not limited to : average number of words per
for that entity . Further, matching server 20 may then com -         sentence , total number of words with greater than three
pare the chosen seed entity with other profiles stored in            syllables , and total number ofwords in the profile .Matching
matching server 20 and determine whether those profiles              server 20 may also concatenate all of the collected responses
will be included in pool 30 using a threshold score as 35 with a single space between them . It may further break the
described above . At least one advantage realized by this text into sentences , words , and syllables . From these statis
embodiment is that user 14 is presented with updated                 tics , matching server 20 may also be configured to generate
potential matches which increases the likelihood of user 14          a readability score by, in one embodiment, taking the aver
finding a suitable match . Another advantage present in              age of the Flesch Kincaid Reading Ease test, the Flesch
certain embodiments is that these updated potential matches 40 Kincaid Grade Level test, and the Gunning Fox score . Other
have a greater likelihood of compatibility with user 14 since       embodiments may utilize any other combination of these or
they are chosen based on their commonality with entities            other tests to determine a readability score . In some embodi
user 14 has expressed a preference for.                             ments , analyses may be used to determine the IQ of an
   As an example only , consider the case in which user 14           entity , the grade level of the writing , or how nervous the
has registered , requested a search , and received from match - 45 entity generally is . An advantage of this embodimentmay be
ing server 20 results list 31. Then , user 14 decides to contact   that the system provides user 14 with a metric for determin
Jane Doe and presses contact button 35 . Aside from provid          i ng approximate intelligence of other users. The readability
ing user 14 with the ability to contact Jane Doe, matching            score may be used , for example, in the matching process to
server 20 will designate Jane Doe 's profile as a seed .              identify potential matches .
Matching server 20 will then compare Jane Doe ' s profile to 50 As an example only, the Flesch Kincaid Reading Ease
other profiles stored in memory 26 in order to identify other score may be generated by first computing the following
 users who may be similar to Jane Doe and thus be a good       intermediate score:
match for user 14 . In this example, matching server 20 will         206 .835 - ( 1.015 * [Average Words per Sentence ])
 generate a commonality score for each of these comparisons                (84 .6* [Average Syllables per Word ])
and compare these scores to a preset threshold . If the 55
commonality score is lower than the threshold , that profile Then , the Flesch Kincaid Reading Ease score is determined
will not be added to pool 30 . However, if the commonality           by using the following table :
score is higher than the threshold , matching server 20 will
add this profile to pool 30 . As an example , further assume
that the seed , Jane Doe, is being compared to another entity, 60                                        Flesh Kincaid Reading Ease
                                                                          Intermediate Score condition
                                                                                             Condition             Score
Susan Smith . Based on the fact that both Susan and Jane
have three users ( Tom , Dick , and Harry ) who have expressed                       < 100
a positive preference for their profiles, matching server 20
 generates a commonality score of 100 for the comparison . In
contrast,matching server 20 generated a commonality score 65
of 50 for the comparison between the seed ( Jane Doe ) and
yet another entity, Lucy Goosey. This was because only one
                                                                                       <91
                                                                                       < 81
                                                                                       < 71
                                                                                       < 66
                                                                                       <61
                                                                                                                    tinoa
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                                                                                                        10
                                -continued                                  server 20 . Matching server 20 then analyzes each of these
                                                                            profiles by comparing it to a list of predefined keywords .
     Intermediate Score Condition
                                            Flesh Kincaid Reading Ease
                                                       Score
                                                                            Matching server 20 then associates each word thatmatched
                                                                            the list of keywords with each profile . Now assume that
                  < 51                                     10             5 Harry performs a search . While fulfilling Harry ' s query,
                  < 31                                                      matching server 20 evaluates Sally 's profile for inclusion in
                  Else                                     GAN              Harry 's result list 31. This evaluation includes comparing
                                                           the list of keywords found in Harry ' s profile to the keywords
                                                           found in Sally 's profile . The more keywords that Harry and
The Flesch Kincaid Grade Level may be computed accord - 10 Sally have in common , the more likely it will be that
ing to the following :                                                      matching server 20 will include Sally 's profile in Harry 's
      (0 .39 * [ Average Words Per Sentence ]) + (11. 8 * [Aver             result list 31.
            age Syllables Per Word ]) - 15 . 59                                In some embodiments, matching server 20 may be con
                                                          figured to impute a level of physical attractiveness to an
The Gunning Fox score may be computed according to the 15 entity in pool 30 . Matching server 20 may be configured to
following:                                                monitor how frequent an entity in pool 30 has been viewed
     ([Average Words Per Sentence ]+ (([Number Of         as well as how many times that entity has been part of a
          Words With More Than 3 Syllables ]/[Number      result list in order to impute the level of physical attractive
          of Words In Entire Text]) + 100)) * 0 .4        ness . Matching server 20 may further be configured to
As indicated , any suitable tests may be utilized in any 20 generate a score based on this data . Further, in some
suitable manner to determine a readability score .          embodiments , matching server 20 may impute physical
   In some embodiments , matching server 20 may be con -    attractiveness to an entity based on the imputed physical
figured to allow a user to interact with the result list of attractiveness scores of other entities. Matching server 20
another user.Matching server 20 may be configured to allow                  may compute an average of the imputed physical attractive
a user to express a preference for entities within a result list 25 ness scores of the other entities weighted by the common
of another user, and to indicate to the other user of this          ality score between each of the other entities and the present
preference . Thus , a user may be able to get advice from a         entity . Empirical data indicates that people are more likely
friend regarding what other users may constitute good               to match with people of similar attractiveness . Thus, in many
matches for the user and thus be able to find a better match .      embodiments , a user may obtain an advantage in that they
   As an example only, consider FIG . 1A and FIG . 2 . Two 30 are able to be presented with potential matches that, accord
users 14 , Harry and Sally, are connected to matching server                ing to one measurement, are as attractive as the user .
20 via terminals 10 . Display 12a is used by Harry while                      As an example only, consider a registered user, Sally ,
display 12b is used by Sally . Matching server 20 allows                    whose profile was created by matching server 20 in January .
Sally to view Harry ’s result list 31 on her terminal in display            Since that time,matching server 20 has recorded the number
12b . By pressing recommend button 37 , Sally may indicate 35 of times Sally ' s profile has appeared in any user ' s result list
a preference for one or more of the entities in result list 31 .            31; assume that this has occurred 10 times . Further, match
Assume Sally presses recommend button 37 associated with                    ing server 20 has also recorded the number of times a user
Jane Loe . After doing so , matching server 20 will notify                  has viewed Sally 's profile by clicking view button 33
Harry of Sally 's preference . On Harry ’s display 12a ,match               associated with Sally ' s profile; assume that this has hap
ing server 20 will cause notification 39 to appear, associating 40 pened 5 times. In this manner, matching server 20 has
it with Jane Loe. Notification 39 will indicate to Harry that      constructed a ratio that represents the imputed physical
Sally has recommended Jane Loe as a potentialmatch . Harry         attractiveness of Sally ' s profile . Still further, assume that
may find Sally 's preference helpful in determining which                   Harry , a registered user, now submits a query. Matching
entities he should pursue further if, for example , he believes    server 20 has evaluated the imputed physical attractiveness
Sally understands the type of person he is looking for.         45 ratio of Harry ' s profile . When evaluating Sally ' s profile for
   In one embodiment, matching server 20 may be config - inclusion in result list 31 returned to Harry, matching server
ured to analyze the profiles of both user 14 and the entities               20 will compare the imputed physical attractiveness of
in pool 30 for keywords . Matching server 20 may be                         Sally 's profile and Harry 's profile. The more similar the
configured to search through the profile of user 14 for ratios associated with Harry and Sally 's profiles are to each
keywords that relate to things such as activities and interests. 50 other, the more likely it is that Sally 's profile will be selected
Matching server 20 may generate a score for each entity in          by matching server 20 to be in Harry ' s result list 31 . In
pool 30 based on a comparison between the list of keywords                  another example , assume that Sally ' s profile has not been
found in user ' s 14 profile and a similarly - generated list of            registered long enough to generate a meaningful imputed
keywords of each entity in pool 30 . In one embodiment, this                 physical attractiveness ratio . Matching server 20 may then
is accomplished by storing a list of words in memory 26 , and 55 generate an imputed physical attractiveness score based on
using it to identify keywords in the searched profiles. In       entities that Sally does have commonality scores with . This
some embodiments , identified keywords may be used as a                     computed average may be weighted by the strength of the
means of weighting various scores. As an example only , a     commonality score between Sally and each entity with
profile that contains the word “God” may be weighted much     whom she has a commonality score . Continuing the
differently than a profile which has merely indicated that 60 example , assume that Sally has a commonality score of 5
their religious preference is Christian . In various embodi                 with Lucy and 10 with Julia . When matching server 20
ments, this may provide an advantage to user 14 in that user                 computes the Sally 's average, it will give twice as much
14 is able to determine how similar he/she is with a potential              weight to Julia 's imputed physical attractiveness score than
match . In addition , the keyword analysis may be used by the to Lucy ' s .
system when searching and identifying matches for a user. 65 In some embodiments, matching server 20 may be con
   As an example only, consider two registered users , Harry   figured to make an entity in result list 31 more appealing to
and Sally , both of whom have profiles stored in matching                   user 14 by pointing out coincidences in the profile data that
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                                                                                                     12
give user 14 a sense of fate with the entity . In one embodi             In another embodiment, matching server 20 may be
ment, matching server 20 may be configured to search for              configured to compare the locations of user 14 and pool
similar initials , birthplaces, birth dates, birth month , birth      entity 30a in increments of ten miles. In yet another embodi
year, university, first names , last names, user handles, paren       ment, matching server 20 may be configured to score the
tal occupations, and keywords to identify users who may 5 location comparison in light of other factors ; as an example ,
give another user a sense of fate . In other embodiments,             matching system 20 may be configured to return a score
matching server 20 may use the fate characteristics as a              consistent with a 10 mile difference in location even though
metric in the matching process .                                      there is a 50 mile difference between user 14 and pool entity
   As an example only, assume that Harry is a registered user          30a if user 14 and pool entity 30a have the same income ,
who has performed a search . After matching server 20 10 education , and age . An advantage realized in several
returns a result list, Harry chooses to learn more about one          embodiments is that it better approximates how a user
of the entities in the result list and clicks view button 33 .        evaluates entities. Entities that live further away are gener
Consider FIG . 3 , which is only an example of information            ally less appealing to a user ; but, users may still be interested
that matching server 20 may return to Harry after clicking            if the entity matches their preferences in other categories .
view button 33. In Harry ' s display 12 , matching server 20 15          As an example only , consider a registered user , Harry ,
presents certain details about the profile . In particular,           who submits a search request. While fulfilling this request,
matching server 20 presents to Harry a fate notification 32           matching server 20 examines Sally 's profile in pool 30 , and
which points out specific similarities between the profile of         determines that the stated locations of Harry 's and Sally 's
the entity and Harry ' s profile . Reading fate notification 32 profiles are 13 miles apart . Matching server 20 will give
gives Harry a sense of familiarity which enhances his 20 Sally ' s profile a score as if the distance between them were
appreciation for the profile .                                  only 10 miles . However, in yet another example , Sally 's
   In another example, fate characteristics may be used to      profile may indicate that she lives 50 miles away from Harry .
decide whether a profile in pool 30 is included in user 's 14         Yet, matching server 20 also notes that both Harry and Sally
result list 31 . Assume that Harry is a registered user who has make $ 100 , 000 per year, have Master 's degrees , and that
submitted a matching query to matching server 20 . While 25 Harry and Sally are one year apart in age (Harry is older ).
determining which entities to include in Harry 's result list, Given these similarities ,matching server 20 will give a score
matching server 20 considers two profiles : Sally and Roxy . to Sally ' s profile that is consistent with a 20 mile difference
Sally and Harry both have the same birth date, initials, and in location even though they are actually 50 miles apart. In
have parents that work in the same profession . In contrast, this manner, matching server 20 takes into account empirical
Roxy and Harry only share the samebirth place . Matching 30 data that shows that people searching for matches who
server 20 may be configured to award more points to Sally             indicate that they want to see matches who live close to them
than to Roxy based on these comparisons, making it more               are still willing to pursue a potential match that lives far
likely that Sally 's profile will be included in Harry ' s result away if the potential match fits very closely with the other
list.                                                             search criteria .
   In some embodiments , matching server 20 may be con - 35 In another embodiment, matching server 20 may be
figured to evaluate the likelihood of contact between user 14     configured to evaluate the age difference between user 14
and an entity in pool 30 . Matching server 20 may be and pool entity 30a using ranges as well as a sliding scale .
configured to compare demographic data between user 14            By way of example only , matching server 20 may be
and pool entity 30a. In another embodiment, matching configured to assign a high value to an age difference
server 20 may be configured to weigh the demographic 40 between 0 and - 5 , while assigning a lower value to an age
similarities and differences based on the sex of user 14 . The        difference between + 2 and 0 . An even lower value may be
demographic data may include, but is not limited to , age ,           assigned to an age difference between - 6 and - 8 . Even lower
education , ethnicity , income, and location .                        values would be assigned incrementally as the age difference
   As an example only, assume that Harry and Sally are                increases outside of the ranges discussed . The higher the
registered users who have profiles in matching server 20 . 45 assigned value is, the more likely it will be that pool entity
Harry has submitted a search request to matching server 20 .  30a will be included in result list 31 . Yet another embodi
While fulfilling this request, matching server 20 evaluates ment may apply this combination of ranges and a sliding
Sally 's profile since her profile is in pool 30 . As part of the scale but use different values and ranges depending on the
evaluation , matching server 20 looks at the differences          sex of user 14 .
between Harry and Sally ' s stated age, income, education , 50 As an example only, consider a situation in which a
ethnicity , and location . In this example , Harry is 10 years        registered user, Harry, requests a search to be performed .
older than Sally , makes $ 10 , 000 more per year , and has a         While fulfilling this request, matching server 20 evaluates
Master 's degree while Sally has a bachelor's degree . Even Sally 's profile , which was in pool 30 . As part of the
with these disparities, matching server 20 will give Sally 's evaluation , matching server 20 compares the ages of Harry
profile a high score which makes it more likely that Sally ' s 55 and Sally , and determines that Harry is two years older than
profile will appear in Harry ' s result list. However, if it was Sally ; this determination leads to matching server 20 assign
Sally who submitted the search , and matching server 20 was           ing, in this example , points to Sally 's profile . Matching
evaluating Harry ' s profile , a different score is possible . So ,   server 20 may also be configured to assign 50 points to
if it were Sally who was 10 years older,made $ 10 ,000 more Sally 's profile had she been five years younger than Harry ;
per year, and had a Master 's degree while Harry had a 60 but, if she had been up to two years older than Harry ,
Bachelor' s degree , matching server 20 would give a low    matching server 20 may have been configured to assign 40
score to Harry ' s profile, making it less likely that his profile points to her profile . Matching server 20 may be further
would appear in Sally 's result list. Matching server 20 may configured to assign 30 points to Sally ' s profile if she was 6
be configured this way because empirical data has shown            to 8 years younger than Harry . However, if Sally were more
that these demographic differences do not have an equiva - 65 than 8 years younger than Harry , matching server 20 may be
lent effect on the choices men and women make regarding            configured to further decrease the number ofpoints assigned
matches .                                                          to her profile : if she was 9 years younger , then 25 points; if
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she was 10 years younger , 20 points ; if she was 11 years         matching server 20 may populate user 's 14 result list from
younger, 15 points , etc . The more points assigned to Sally 's     the pool only with profiles whose average rating is at 6 or
profile , the more likely it is that her profile will appear in     above. Another example of how matching server 20 may use
Harry ' s result list. Thus, matching server 20 may be con          this data involves making it more likely that an entity will
figured to assign a score based on age difference using a 5 appear in a user' s result list if the entity and that user have
combination of ranges and a sliding scale .                 a similar average attractiveness rating . So , if a user has an
   In another example ,matching server 20 may assign scores        average rating of 6 , then an entity with an average rating of
differently if it was Sally who was searching and if it was 5 may be more likely to appear in the user' s result list than
Harry ' s profile that was being evaluated . In this example , an entity with an average rating of 2 .
matching server 20 may be configured to assign Harry ' s 10 In another example, assume that Harry is a registered user
profile 50 points if he were between 1 and 5 years older than      and has requested a search . While fulfilling this request,
her. If he were 6 to 8 years older than her, matching server       matching server 20 evaluates Sally 's profile . As part of this
20 may assign 45 points . If he were greater than 8 years evaluation , matching server 20 notices that Sally 's profile
older than her, matching server 20 may assign points in the contains feedback from other users ranking the attractive
following fashion : if he was 9 years older, 40 points would 15 ness of Sally 's profile . Matching server 20 , in this example ,
be assigned ; if he was 10 years older, 35 points would be averages that data ; Sally 's profile average is 6 . Matching
assigned ; etc . However, if he was up to two years younger server 20 may then examine Harry 's profile to determine a
than Sally, matching server 20 may assign 50 points to his similar average . If Harry 's profile has an average close to 6 ,
profile . If he were more than two years younger, matching           it will be more likely that matching server 20 will include
server 20 may assign less points on a sliding scale : 45 points 20 Sally 's profile in Harry 's result list . If Harry 's profile
if he were 3 years younger, 40 points if he were 4 years            average is lower than 6 , it will be less likely that Sally ' s
younger, etc . The more points assigned to Harry 's profile , profile will be included in Harry 's result list. If Harry 's
the more like it is that his profile will appear in Sally 's result profile average is greater than 6 , it will be even less likely
list. This example illustrates how matching server 20 may be that Sally 's profile will be included in Harry 's result list. The
configured to take the sex of user 14 into account when 25 more Harry 's profile average deviates from that of Sally 's,
scoring based on age differences.                                   the less likely it will be thatmatching server 20 will present
   In various embodiments, matching server 20 may be                Sally 's profile in Harry ' s result list.
configured to evaluate the attractiveness of an entity in pool         In some embodiments, matching server 20 may be con
30 through collected feedback from other users. In one              figured to analyze profile information and received activity
embodiment, matching server 20 may present an entity to 30 information to construct " pairs ” which link at least two
user 14 , prompting user 14 to rate the attractiveness of the       profiles. These pairings may also be associated with a value
entity on a scale from 1 - 9 . This range gives the advantage of    that ascertains the quality of the pairing. For example , a
having a midpoint. Matching server 20 may further be                pairing which results from one user viewing the profile of
configured to collect such responses and store them ; in one        another user may be assigned a value that is less than a
embodiment, matching server 20 may store the data in 35 pairing which results from a first user viewing the profile of
memory 26 , using a structure such as database 26b. Match -         a second user when the second user has also viewed the first
ing server 20 may further be configured to compute the              user' s profile .Matching server 20 may use these pairings in
average of such responses for the entity , and store this           order to generate search results for entities within and
number as well. In various embodiments, these values may            outside of the pairing. Each member of the pairmay be used
be used in order to help in the matching process . Empirical 40 as a seed entity for generating search results for users in
data indicates that people are more likely to match with           matching server 20 . In various embodiments, an advantage
people of similar attractiveness. Thus, in various embodi-         may be realized as matching server 20 analyzes many of
ments , users whose attractiveness rating are similar will be      these pairs to develop dynamic results to users of the system ,
more likely to appear in each other ' s result list. Further , a    the results being potentially more relevant as matching
user may indicate that they only want profiles in their result 45 server 20 leverages the interaction between users and pro
list whose average attractiveness rating is higher than an          files to generate search results .
indicated threshold .                                                  Pairs may be formed from a variety of user activity
   As an example only , assume registered user, Harry , uses       received by matching server 20 . This activity may include :
terminal 10 , which in this example is Harry ' s personal          profile views, mutual profile views, one -way double blind
computer, and establishes communication with matching 50 communication , mutual double -blind communication ,
server 20 . In this example , this communication occurs by          declining double blind communication , one way wink ,
Harry using a Web browser to access a Web page controlled          mutual wink , expressing disinterest in response to receiving
by matching server 20 . Sometime after visiting the Web          a wink , one way favorite , and mutual favorite . Other suitable
page, matching server 20 may present Harry with an option activity may also be received by matching server 20 and
to rate the physical attractiveness of other users registered 55 utilized as a basis for generating pairs .
with matching server 20 . Using display 12 and interface 16 ,       For example , Harry may be a registered user who has
Harry may view profiles of registered users and rank them        expressed a positive preference for Sally. Matching server
on a scale of 1 - 9 by entering the values using interface 16 ;     20 may be configured to generate a pair which includes
in this example , interface 16 comprises a mouse and /or a          Harry and Sally . Matching server 20 may utilize this pair
keyboard . After submitting this rating , matching server 20 60 when providing search results to other users . Betty may have
will associate it with the profile and store it .Matching server requested matches, and Betty may be similar to Sally .
20 will also allow other users to rate profiles, thereby Matching server 20 may present Harry in Betty ' s result list
collecting a plurality of rankings for profiles . Matching as a result of the pairing between Harry and Sally . Further,
server 20 may use this data when trying to find matches for      Jim may have executed a search and Jim may be similar to
users. One example of this is that matching server 20 may 65 Harry . As a result of the pairing between Sally and Harry ,
allow user 14 to specify that he / she is searching for profiles   matching server 20 may present Sally in Jim ' s list of search
which have an average rating of 6 or above. In turn ,               results .
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                              15                                                                 16
   In some embodiments , matching server 20 may be con -            to Harry . This serves as an example of how preferences may
figured to encourage user 14 to interact with entities in pool      be identified based on user behavior.
30 . For example, matching server 20 may present a list of             In FIG . 4 , one embodiment is disclosed wherein matching
limited entities from pool 30 to user 14 ,but not present other     server 20 , with pool 30 , may be configured to interact with
entities to user 14 unless user 14 interacts with the already 5 another platform , such as social networking platform 50 ,
presented entities. Possible interaction with these entities    containing a set 52 of users . Users 14 are communicatively
may include viewing more information regarding the entity,          coupled to matching server 20 and social networking plat
expressing a positive or negative preference for the entity ,       form 50 . Matching server 20 may further be configured to
and choosing to contact the entity . Other suitable forms of provide users of social networking platform 50 a service by
interaction may also be utilized . For example , matching 10 which they may search for users within set 52 or within pool
server 20 may prompt the user with a question about the list 30 using the algorithms and processing of matching server
of entities, such as asking whether or not the user likes the 20 . Matching server 20 may even further be configured to
entity . Responses to such prompts may include " yes,"              allow users of matching server 20 to search through pool 30
" maybe,” “ no," " remove," and " remove other.” The pre -    and set 52 . Matching server 20 may be configured to parse
sented entities may be chosen using a variety of methods . 15 the profiles of the entities in set 52 , collecting data and
For example , the presented entities may be chosen based on   applying algorithms.
various scoring algorithms as described above. In addition ,           In another embodiment, matching server 20 may be
presented entities may be chosen using predictive analysis ,        configured to allow users of social networking platform to
such as logistical regression . Other techniques may be used        interact with matching server 20 using social networking
to determine the presented entities. For example , entities that 20 platform 50 . This level of integration provides the advantage
have been presented previously may be excluded . As of users not having to learn and sign up for a different
another example , entities that have been blocked by user 14        platform .
may also be excluded . In various embodiments , a combina             Social networking platform 50 , in one embodiment, may
tion of these techniques as well as others may be used to           be a service which stores profiles of its users . This service
determine the limited number of entities presented to user 25 may be further configured to provide access to the stored
14 .                                                                profiles . In one embodiment, socialnetworking platform 50
   For example , Harry may be a registered user of the              may also allow other services to interact with users of social
matching system . Matching server 20 may be configured to           networking platform 50 through social networking platform
present to Harry a list of five entities thatHarry must interact    50.
with . Once Harry has interacted with these entities, match - 30 In one embodiment, matching server 20 may be config
ing server 20 may present five more entities for Harry to        u red to collect requests from users of social networking
 interact with . Previously , Harry has blocked Sally, another platform 50 and perform a search through pool and set 52.
registered user of the system . As a result, matching server 20   Matching server 20 may further be configured to present the
may exclude Sally from being presented to Harry in the list results of this search from within social networking platform
of five entities . Further, Harry has already interacted with 35 50 .Matching server 20 may further be configured to present
Betty , another registered user of the system : Harry sent a entities in the search result from pool 30 as if they were
message to Betty utilizing matching server 20 . As a result,      entities of set 52; in one embodiment, matching server 20
Betty will be excluded from being presented to Harry in the may be configured to generate profiles of entities from pool
list of five entities.Matching server 20 may then choose two       30 into set 52. Thus , users of social networking platform 50
of the five entities using scoring algorithms described above . 40 may view all of the entities in the search result, regardless
For example ,matching server 20 may choose Alice and Amy of their source ( either from pool 30 or set 52 ), within the
to be presented in the list of five entities because Alice and     environment of social networking platform 50.
Amy have received high scores when their profiles were                As an example only , consider two users : Harry , for whom
compared to Harry 's profile . Matching server 20 may               matching server 20 has created a profile , and Sally, who has
choose the remaining three entities using predictive analysis . 45 a profile stored in social networking platform 50 . From
According to this example , matching server 20 may use             within social networking platform 50 , matching server 20
logistical regression to identify Carla , Christi, and Camela as    presents to Sally the ability to perform a search which Sally
the other three entities to present to Harry . Thus, in this        uses. The results of this search are presented to Sally within
example , Harry is presented with a list of five entities by social networking platform 50 . In this example , Harry ' s
matching server 20 . Matching server 20 may not present 50 profile is displayed to Sally as a search result along with
another set of five entities until Harry has interacted with        other entities from set 52 though Harry ' s profile was from
these five entities. Harry may interact with these entities in      pool 30 . In this example , matching server 20 uses the
a variety of ways . For example , Harry may send a message          algorithms discussed herein and searches through the pro
to Alice and send a " wink ” to Amy. In addition , Harry may      files stored in pool 30 and set 52. In order to display Harry ' s
choose to view more information about Carla ' s profile , but 55 profile to Sally, matching server 20 creates a profile in set 52
express a negative preference towards Christi and Camela . using the data stored in Harry ' s profile in pool 30 . Sally is
After matching server 20 receives these types of interaction then able to interact with this newly created profile from
with the presented five entities, another set of five entities within social networking platform 50 in the samemanner as
may be presented to Harry .                                      she is other entities in set 52.
   In this example, matching server 20 may further be 60 In another embodiment, matching server 20 may be
configured to process the user interaction provided by Harry .   configured to allow its users to interact with social network
For example ,matching server 20 may utilize Alice 's profile ing platform 50 through matching server 20 . In one embodi
as a seed entity to generate other possible entities to present m ent, matching server 20 supplements pool 30 with set 52 .
to Harry since Harry sent a message to Alice . Thus, a benefit   In yet another embodiment, entities from set 52 appear as
is from presenting a the five entities to Harry in that the 65 entities of pool 30 to the user in their list of search results .
interaction between Harry and these entities may be utilized     In one embodiment, matching server 20 may be configured
by matching server 20 to generate other entities for matching to generate profiles within pool 30 from entities of set52 ; the
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system may be configured to do so through capabilities                                                 -continued
provided by social networking platform 50 , such as an
application programming interface .                                              Condition
                                                                                                                    Number of Points for
                                                                                                                         Ordering
   As an example only , consider two users : Harry , whose
profile is stored in matching server 20 , and Sally , whose 5                    Match result entity has                 + 1048576
profile is stored in social networking platform 50 . Harry                       commonality with an entity
                                                                                 user has expressed a
submits a search request to matching server 20 . Matching                        preference for
server 20 may return result list 31 to Harry, which , in this                    Both have the same ambition                  + 128
example , contains an entity representing Sally 's profile .                     Both have the same beliefs
                                                                                 Same answer for Build
                                                                                                                           + 16384
                                                                                                                               +64
Matching server 20 may accomplish this by creating profiles 10                   Same answer for Car                             +1
 in pool 30 that correspond to the profiles found in set 52 .                    Both have the same diet
Once these profiles have been imported into pool 30 ,match                       Both have the same                       + 131072
ing server 20 may then search through pool 30 . While doing                      preference for drinking
                                                                                 alcohol
so , matching server 20 applies the algorithms and scores 15                     Same answer for Ethnicity                   + 1024
discussed herein . Thus, in this example , matching server 20                    Same answer for Fear                          + 256
has been configured to both search and apply scoring                             Same answer for Hair                            +2
algorithms to entities in pool 30 and set 52 . Further, in one                   Same answer for Number of                + 524288
                                                                                 children
example , Harry is not able to distinguish that Sally ' s profile                Same answer for morning                        + 32
was originally stored in social networking platform 50 . 20                      Same answer for " must have "             + 32768
Rather, matching server 20 presents Sally 's profile in the                      Same answer for " night out”
                                                                                 Same answer for " pets"
                                                                                                                                + 16
                                                                                                                           + 65536
samemanner as other profiles stored in pool 30 . Thus , in this                  Same answer for politics                   + 8192
example , Harry may use favorite button 34 , view button 33 ,                    Same answer for relationship                    +0
and contact button 35 when interacting with Sally 's profile                     status
in the same manner as described above.                              25           Same answer for “ romance ”                  + 512
  One advantage present in various embodiments is that a                         Same answer for smoking                  + 262144
                                                                                 preferences
user has a wider pool of entities to search through . Another                    Same answer for sports                          +8
advantage is that a user does not have to sign up with several                   interests
platforms to search through the users on those platforms.                        Same answer for “ system ”                 + 4096
   FIG . 5 is a flowchart illustrating one embodiment of how 3030
result list 31 may be generated . At step 62, matching server              As an example only , consider a registered user, Harry ,
20 generates pool 30 , as described above . At step 64,              who desires to perform a search . Before processing the
matching server 20 applies a filter to pool 30 , removing            request, matching server 20 may ask Harry what sex he is
certain entities ; in various embodiments, this filter is based      and what sex does he desire to be matched with ; in this
on user ' s 14 own sex and the sex user 14 desires to be 35as example         , Harry responds that he is a male seeking a female .
matched with . At step 66 , matching server 20 may be                After doing   so , matching server 20 will generate pool 30 as
configured to apply algorithms to pool 30 that will generate described above
a plurality of scores for each entity in pool 30 . In one to remove certain. Next             , matching server 20 will apply a filter
 embodiment, these algorithms may include analyzing the males will be removed fromfrompoolentities     pool 30 . In this example , all
                                                                                                          30 since Harry is seeking
text of the profiles of the entities in pool 30 to generale
                                                    generate aa un40 a female. Further, all females seeking
readability score, determining how attractive an entity of removed from pool 30 since Harry is a females                     will be
pool 30 is, or measuring how likely it is that user 14 will examples, other entities that are removed from poolother male  . In
                                                                                                                                   30
contact an entity of pool 30 . At step 68 , matching server 20 include entities that Harry has expressed a negative prefer
may be configured to collect all of the scores from step 66 ;
in one embodiment, matching server 20 may use database 45 ence               for before, or entities that have expressed a negative
26b to store all of these scores . At step 70 , matching server ing server for
                                                                      preference      Harry . After pool 30 has been filtered ,match
                                                                                   applies  a variety of scoring algorithms to the
20 may be configured to apply an ordering algorithm which             entities remaining in pool 30 . These algorithmsmay account
will determine the order in which entities in result list 31 are for various comparisons such as those based on readability,
presented to user 14 . In one embodiment, this ordering likelihood to contact, fate , and keywords described above.
algorithm is based , in part , on the scoring algorithms applied 50so Matching server 20 will then tabulate these scores, storing
at step 66 . The ordering algorithm assigns points to each               them , in this example , in database 26b . Matching server 20
entity and orders them based on these values, constructing               will then determine what order these entities are presented to
result list 31. An embodiment of this ordering algorithm is              Harry by applying an ordering algorithm . Here , matching
summarized in the following table :                                      server 20 assigns one ordering score to each entity by
                                                                         examining the results of the scoring algorithms. After doing
                                          Number of Points for
                                                                         so ,matching server will present result list 31 to Harry , where
        Condition                               Ordering                 the order of the entities that appear in the result list is based
                                                                         on the ordering algorithm . In this example , it is possible for
        Readability score 1 point              + 33554432                result list 31 to change . Consider another user, Sally, who
        higher than user                                            60 appears in Harry 's result list. If Harry decides to add her into
        Match result entity has                + 16777216
        expressed a preference for                                     a separate list by using favorite button 34 , Sally will be
        the user                                                       removed from result list 31 (as described above ). However,
        Match result entity has been            + 8388608              Sally will also become a seed entity from which entities may
        recommended by a friend of
        the user                                                       be added to pool 30 ( as described above ). Hence , matching
        User has viewed the details             + 2097152           65 server 20 will update the pool, apply the filters, apply the
        ofmatch result entity                                            scoring algorithms, tabulate the results, apply the ordering
                                                                         algorithm , and update result list 31. As another example, an
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entity may update their profile which can change result list        as common friends , common interests, common network ,
31 . For example, assume Sally 's profile had an ordering           location , gender, sexuality , or age to evaluate potential
algorithm score that placed her within the top 20 entities in       matchesbetween users 14 . Matching server 20 may also use
result list 31 . Sally then changes her profile which results in    implicit signals such as for whom a user 14 expresses
keywords that match Harry ' s profile being added to her 5 approval and disapproval. Implicit signals may also include
profile . Matching server 20 will then update her scoring           facial recognition algorithms to detect ethnicity , hair color,
algorithms. In this example , the change in Sally 's profile and    eye color, etc., of profiles that user 14 has expressed interest
resulting increase in keyword matches with Harry 's profile         in .
significantly increased her score . This was then reflected in         In particular embodiments, matching server 20 may have
the ordering algorithm as it was also applied to the updated 10 users 14 to link their user profiles to an existing profile
profile . Afterwards, Sally ' s profile is now placed within the    within social networking platform 50 . Matching server 20
top 5 entities in result list 31 .                                  may be configured to generate and add profiles to user
   In some embodiments , matching server 20 may be con              profile pool 30 from entities of set 52; the system may be
figured to receive required characteristics from user 14      configured to do so through capabilities provided by social
regarding a match . User 14 may be allowed to specify such 15 networking platform 50 , such as an application program
restrictions based upon any number of characteristics,              ming interface. One advantage of linking is that matching
including those described herein . For example , matching           server 20 can use the authentication features provided by
server 20 may allow user 14 to specify that entities that           social networking platform 50. For example, creating a user
indicate they have children should not be displayed . In            profile on matching server 20 containing false information
another example , user 14 may specify that only entities 20 becomes harder when the information must come from
between the ages of 20 and 30 should be present in result list      another verifiable and peer monitored source such as social
 31 . In some embodiments, matching server 20 may imple -           networking platform 50 .
ment these restrictions in step 64 of FIG . 5 . In other             In some embodiments, matching server 20 may allow a
 embodiments, however, matching server 20 may refuse to user 14 to propose a match between two of his connections
apply these restrictions to certain entities based on the 25 within social networking platform 50 . For example , Harry
characteristics of the entities . Any number of characteristics , may be friends with both Bob and Sally within social
 including those described herein , may form the basis upon networking platform 50 . Harry believes Bob and Sally are a
which matching server 20 decides not to apply the restric          good match and therefore instructs matching server 20 to
tions submitted by user 14 . As an example only , matching         create a match between the two users in user profile pool 30 .
 server 20 may ignore the restrictions if the entity has a high 30 Once matched , matching server 20 allows Harry and Sally
enough attractiveness rating . In another example , though          to communicate with each other.
user 14 has requested that no profiles which are located more          In some embodiments, matching server 20 may be con
than 50 miles away should be present in result list 31,             figured to apply a relevance algorithm which determines the
matching server 20 may include such profiles because those          content and order in which matching server 20 displays
profiles have over 5 matching keywords, a high attractive - 35 potential matches to user 14 . A relevance algorithm may be
ness rating, and have specified the same life goals as user 14 .    based on both explicit and implicit signals from user 14 .
Thus, in some embodiments,matching server 20 may refuse             Explicit signals include information entered by user 14 as
to apply restrictions submitted by user 14 based on any             part of its user profile , such as height, weight, age , location ,
combination of characteristics or algorithms.                       income, and ethnicity. Explicit signals may also include
   An advantage present in many embodiments is that 40 information about the characteristics user 14 is seeking in a
through taking into account various factors when scoring match , such as gender, hair color, eye color , or occupation .
potential matches and using only very few strict filters , a Explicit signals may also be entered by user 14 as part of a
large amount of result entities may be returned to the user. search request. For example , user 14 may request matching
 A further advantage is that the ordering algorithm will put        server 20 limit the pool of potential matches to those users
the most relevant search results first , saving the user time. 45 within a fixed geographic region . Matching server 20 is
   FIGS. 6 - 9 depict embodiments of a user interface pre -         operable to compare geographic positions associated with
sented to users of the matching system discussed above with         the plurality of user profiles in user profile pool 30 with a
respect to FIGS. 1 and 4 . According to some embodiments ,          geographic position associated with user 14 . Explicit signals
users 14 interact with matching server 20 through interface         may be imported from a social networking platform 50, such
16 presented by terminal 10 . In addition to the embodiments 50 as the number of shared entities in a social graph of user 14 .
of interface 16 described above in relation to FIG . 1A ,       Implicit signals may be based on the behavior of user 14
interface 16 may also comprise a touch screen interface             either within system 100 or other social networking plat
operable to detect and receive touch input such as a tap or         forms 50 . For example , if user 14 has expressed disapproval
a swiping gesture . In some embodiments, matching server            of a user profile in the past, matching server 20 may no
20 may import profiles from other social networking sys - 55 longer present the disapproved of user profile to user 14 in
tems. This level of integration provides the advantage of    future searches . In various embodiments , matching server 20
users only having to update their profile information in one may be configured to evaluate the attractiveness of a user in
place . For example, when user 14 updates his profile within user profile pool 30 through collected feedback from other
social networking platform 50 , matching server 20 is also     users . For example, matching server 20 may rank a user
able to access the updated profile information .            60 profile that receives more likes asmore relevant than a user
   In some embodiments , matching server 20 may further be profile that receives fewer likes . In particular embodiments ,
configured , as part of the user registration process, to link to   matching server 20 may assign a higher relevance to a user
a user 's existing profile within social networking platform        profile if the other user has previously expressed a prefer
50 . Matching server 20 may be configured to parse the               ence for user 14 . As an example , user Harry may have
profiles of the users in set 52, e. g ., collecting data and 65 previously expressed a preference for user Sally . If Sally
applying algorithms. For example , matching server 20 may           requests a set of user profiles from matching server 20 , and
use explicit signals from social networking platform 50 such        Harry 's user profile is included in the set , matching server 20
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may assign Harry 's user profile a higher relevance based on         users ' profile information as well. Harry may request more
his expression of preference for Sally . This can result in          information about Sally by pressing information button 84 .
Harry ' s profile being presented to Sally sooner than other -       Harry may also indicate his preference to communicate
wise would have occurred . Thismay be advantageous in that           directly with Sally by selecting like button 86 . In another
it can increase the chances of a match without compromising 5 example , Harry may expand his search to a twenty - five mile
a user' s feelings of privacy when expressing preferences for        radius to meet people in his town, not just his immediate
potential matches. In some embodiments, matching server              vicinity .
20 may be configured to use the fate characteristics as a              FIGS. 7 and 8 are diagrams of embodiments of the display
metric in the relevance algorithm .                          from FIG . 6 showing the effect of a left swipe gesture (FIG .
   In some embodiments, terminal 10 is operable to deter- 10 7 ) and the effect of a right swipe gesture ( FIG . 8 ). In one
mine its own geographic location by a global positioning             embodiment, users 14 may navigate through the set of
satellite navigational system . Terminal 10 may also deter -         presented users by swiping through stack of cards 88 . Users
mine its own geographic location using cellphone -based              14 may also express approval of a presented user by per
triangulation techniques , Wi-Fi based positioning system , forming a right swipe gesture or express disapproval by
Global Positioning Satellite (GPS ) system , or network 15 performing a left swipe gesture. In some embodiments, user
addresses assigned by a service provider.                   14 performs a swiping gesture by moving a finger or other
   FIG . 6 shows one embodiment of system 100 displaying             suitable object across a screen of terminal 10 . Other suitable
to a user the profile information of a second user. Matching         gestures or manners of interacting with terminal 10 may be
server 20 may be configured to search through its plurality          used (e. g., tapping on portions of a screen of terminal 10 ).
of profiles and present suggested matches to user 14 . In FIG . 20      In some embodiments, matching server 20 creates a
6 , one embodiment of this presentation is depicted as               match between two users 14 after both users 14 have
occurring through the display of terminal 10 . In this embodi        expressed a preference for each other 's profiles using like
ment, a plurality of user profiles is presented to user 14 .         button 86 or the swiping gesture associated with like button
Using terminal 10 , user 14 may request thatmatching server          86 . When matching server 20 creates a match , it may also
20 present a subset of users from user profile pool 30 based 25 provide the matched users with the ability to contact each
on specified search parameters . The display may show an             other through a contact button . In some embodiments , when
image of a suggested user and one or more aspects of the             a match is created ,matching server 20 may immediately (or
suggested user ' s profile information . In some embodiments ,       soon thereafter ) present an option to users 14 that have been
the combination of image and one or more aspects of profile          matched to engage in a communication session ( e. g ., a chat,
information is displayed as " card " 88 representing the 30 an SMS message, an e -mail, a telephone call, a voice
suggested user. A set of suggested users may be displayed as         communication session , a video communication session ).
stack of cards 88 . User 14 may view information regarding           This may be done in response to a first user 14 expressing
one suggested user at a time or more than one of the                 a preference for a second user 14 that has already expressed
suggested users at a time. User 14 may be presented with a a preference for the first user 14 .
summary of information regarding a suggested user. The 35 FIG . 9 shows one embodiment of matching system 100
summary may include one or more of: a picture , an icon,             displaying a match of a first user and a second user, in
name, location information , gender, physical attributes , hob -     accordance with a particular embodiment. Matching server
bies, or other profile information .                         20 may provide first user 14 and second user 14 with each
    In some embodiments , terminal 10 may also display       other 's contact information such as a telephone number or
" information ” button 84 which allows user 14 to request 40 an e -mail address .Matching server 20 may also provide both
matching server 20 to retrieve and display more information  first and second users 14 with a way to directly contact the
about the presented user from user profile pool 30 . In      other, such as sending a message or providing voice or video
addition , user 14 may express approval or disapproval for a communication between the first and second user. In some
presented user. Expressing approval or disapproval can be            embodiments , direct communication may be initiated by
accomplished through various methods. For example , ter - 45 pressing " Send a Message” button 92 . Alternatively , a user
minal 10 may display “ like ” button 86 ( represented by a           may choose to continue browsing the set of presented users
 green heart icon ) and “ dislike" button (represented by a red      by pressing “ Keep Playing" button 94 .
“ X ” icon ). Pressing like button 86 indicates to matching            For example, user Harry may indicate a preference to
server 20 that user 14 approves of and is interested in              communicate directly with user Sally by selecting like
communication with the presented user. Pressing dislike 50 button 86 . At this point, Sally is not aware that Harry
button 82 indicates that user 14 disapproves of and does not         expressed a preference for her . If Sally also requests match
want to communicate with the presented user. The approval            ing server 20 present her with a set of possible matches ,
preference of user 14 is anonymous in thatmatching server            Harry may appear in her set. Sally may select like button 86
20 does not inform users 14 whether other users have                 ( or perform an associated swiping gesture ) when viewing
expressed approval or disapproval for them .                    55 Harry 's profile. Matching server 20 may then notify both
   As an example , consider two registered users, Harry and Harry and Sally that a match occurred . At this point, both
Sally , both of whom have profiles stored in matching server Harry and Sally are made aware that they each expressed
20 . Harry is at a restaurant and requests matching server 20 approval of each other 's profile. Matching server 20 then
to present him users within a one -mile radius of his location . enables Harry and Sally to directly communicate with each
Matching server 20 compares a geographic position associ - 60 other ( e . g ., through a private chat interface ).
ated with Sally with a geographic position associated with             In some embodiments , one advantage of a system dis
Harry . If Sally is currently within the one -mile radius of         closing preferences of profiles to users when mutual
Harry and matching server 20 determines her profile infor-           approval has occurred is that a user can feel more secure in
mation matches Harry ' s preferences, matching server 20      their privacy knowing that their preferences will be dis
will present Harry one or more aspects of Sally 's profile 65 closed to those that have expressed a preference for that user.
information . If other users also meet the search criteria ,  As an example , a user can avoid embarrassment if their
matching server 20 will present one ormore aspects ofthose           expression of preference for a profile was not reciprocated .
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This may lead to users more actively expressing their            matched at step 1106 . If matching server 20 determines the
preferences . Such increased activity can be used by the         suggested matching proposal is not valid , matching server
matching system to generate more potential matches or        20 does not create a match and does not allow communi
better rankings of potential matches . In some embodiments , cation between second and third users 14 at step 1108 . In
matching server 20 may be configured to allow direct 5 some embodiments , step 1104 may not be performed . For
communication between users when there has been a mutual         example , if a matching proposal is suggested , then matching
expression of preference . This may be advantageous              server 20 may perform step 1106 with respect to the users
because users can avoid browsing , deleting , or responding tosuggested to be matched .
unwanted messages.                                               FIGS. 12A - D depict embodiments of a user interface . In
   FIG . 10 is a flowchart depicting a method for enabling 10 some   embodiments , the interface allows user 14 of terminal
communication between two users of the matching system        10  to  enable communication between other users 14 by
of FIG . 1 based on a mutual expression of approval , in suggesting       a matching proposal to matching server 20 .
accordance with a particular embodiment.
  At step 1002 , in some embodiments, matching server 20         FIG . 12A  illustrates one embodiment of an interface for
generates a set of user profiles in response to a request for 15 proposing a match between two users. The interface is
matching from a first user 14 . At step 1004, matching server divided into three sections: connection list area 1202 , search
20 presents the set of user profiles to first user 14 . Matching area 1204 , and suggestion area 1206 . Connection list area
server 20 determines the contents and ordering of the set of      1202 displays a set of connections user 14 has with other
users profiles by using, e .g ., the relevance algorithms users of, e . g ., system 100 of FIG . 1 . Connections may be
described above in the discussion of FIG . 4 . For example , 20 based on prior matches created by matching server 20 .
matching server 20 may only include user profiles whose Connections may also be imported from another social
contents indicate location within a specified geographical       networking platform 50 . Search area 1204 enables user 14 to
radius and order the presentation of those user profiles basedsearch for particular connections within system 100 . In some
on the number of mutual friends in common with first user     embodiments , the search may be limited to just the connec
14 .                                                       25 tions displayed in connection list area 1202. Suggestion area
    At step 1006 , in some embodiments, matching server 20   1 206 displays the connections that user 14 may use to form
receives an indication of the preference of first user 14 a suggested match .
regarding a presented user profile . Matching server deter          FIG . 12B illustrates suggestion area 1206 displaying a
mines if first user 14 expresses approval or disapproval of first selected user (i.e .. “ Jonathan Smith ” ) of a proposed
the presented user profile at step 1008 . If first user 14 30 match between two users. User 14 identifies the first selected
disapproves of the presented user profile then a match is not user through a set of interactions with connection list area
made and , at step 1016 , matching server 20 will not allow    1202, search area 1204 , and suggestion area 1206 . For
communication between the two users . If first user 14        example , user 14 may locate a connection in connection list
expresses approval for the presented user profile at step
 1008 , then matching server 20 will check if second user 14 3525 af
                                                                  area 1202 by typing a user handle in search area 1204 . User
represented by the presented user profile has already 14 may then add the connection to suggestion area 1206 . In
expressed a preference for first user 14 at step 1010 . If       some embodiments , user 14 may drag the connection from
matching server 20 detects a mutual expression of approval       connection list area 1202 to suggestion area 1206 .
then a match is made between first and second users 14.            FIG . 12C illustrates suggestion area 1206 displaying a
Then , at step 1012 , matching server 20 allows private 40 proposed match between two suggested users (i.e., “ Jona
communications between first and second users 14 . If a          than Smith ” and “Mary Major” ). For example , user 14 may
mutual expression of approval is not detected at step 1010 ,     locate a second connection in connect list area 1202 that user
then matching server 20 stores the preference of first user 14   14 believes is a match for the first connection . User 14 may
regarding the presented user profile for future comparison       add the second connection to suggestion area 1206 . When
and continues to step 1016 where private communications 45 both connections are added to suggestion area 1206 , match
are not yet allowed .                                            ing server 20 may create a match between the two users and
   FIG . 11 is a flowchart depicting a method for enabling       allow communication between them .
communication between two users of the matching system              FIG . 12D illustrates an example communication interface
of FIG . 1 based on a matching proposal suggested by a user,     between users of the matching system . User 14 is presented
in accordance with a particular embodiment. At step 1102, 50 with chat box 1208 for each of thematches that exist for user
matching server 20 receives interactions from first user 14 .     14 . Users 14 may communicate with each other through chat
Interactions from first user 14 may include identification of    box 1208 . In some embodiments, users 14 may communi
user profiles for two other users 14 . For example , Harry is    cate through SMSmessages, e -mail , telephone calls , online
connected to both Bob and Sally within social networking         voice communication sessions , and /or video communication
platform 50 . Harry believes Bob and Sally are a good match 55 sessions.
for each other and generates a matching proposal requesting        Modifications, additions, or omissionsmay be made to the
matching server 20 to create a match between Bob and Sally.      methods described herein (such as those described above
  At step 1104 , in some embodiments , matching server           with respect to FIGS . 5 , 10 and 11 ) without departing from
validates the suggested matching proposal between second         the scope of the disclosure . For example , the steps may be
and third users 14 . For example ,matching server 20 verifies 60 combined , modified , or deleted where appropriate , and addi
that Bob ' s profile indicates that hewants to be matched with tional steps may be added. Additionally, the steps may be
a woman , and Sally 's profile indicates that she wants to be performed in any suitable order without departing from the
matched with a man . Matching server may also verify that scope of the present disclosure .
Sally has not previously expressed disapproval for Bob . If       Although several embodiments have been illustrated and
matching server 20 determines the suggested matching 65 described in detail, it will be recognized that substitutions
proposal is valid , matching server 20 creates the match and     and alterations are possible without departing from the spirit
allows communication between the users 14 suggested to be        and scope of the appended claims.
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  What is claimed is:                                             2 . The medium of claim 1, wherein at least one or more
   1. A non - transitory computer-readable medium compris - of the plurality of user on - line dating profiles is associated
ing instructions that, when executed by a processor , are with a social networking platform .
configured to :                                                    3 . The medium of claim 1 , further comprising instructions
   electronically receive a plurality of user online-dating 5 configured to , in response to determining to allow the first
      profiles , each profile comprising traits of a respective user to communicate with the second user, cause the display
     user ;                                                     of a graphical notification on the graphical user interface of
  electronically receive a first request for matching , the firstthe first electronic device of the first user, the graphical
    request electronically submitted by a first user using a     notification indicating that a match exists between the first
    first electronic device;                                  10 user and the second user and presenting an option for the
  determine from the plurality of user online dating profiles    first user to communicate with the second user.
     a set of potential matches for the first user;                  4 . A system for profile matching , comprising:
  cause the display of a graphical representation of a first         an interface operable to :
    potential match of the set of potential matches to the           electronically receive a plurality of user online dating
     first user on a graphical user interface of the first 15          profiles, each profile comprising traits of a respective
     electronic device , the first potential match correspond          user ; and
    ing to a second user;                                            electronically receive a first request for matching, the first
  receive from the first electronic device of the first user a         request electronically submitted by a first user using a
     first positive preference indication associated with the          first electronic device ;
     graphical representation of the second user on the 20           a processor coupled to the interface and operable to :
     graphical user interface , the first positive preference        determine from the plurality of user online dating profiles
     indication associated with a first gesture performed on            a set of potential matches for the first user; and
     the graphical user interface , wherein the first gesture        cause the display of a graphical representation of a first
     comprises a first swiping gesture;                                potential match of the set of potential matches to the
  cause the graphical user interface to display a graphical 25          first user on a graphical user interface of the first
     representation of a second potential match of the set of           electronic device, the first potentialmatch correspond
     potential matches instead of the graphical representa             ing to a second user;
     tion of the first potentialmatch ;                              wherein the interface is further operable to receive from
  receive from a second electronic device of the second user           the first electronic device of the first user a first positive
    a positive preference indication regarding the first user ; 30     preference indication associated with the graphical
  determine to allow the first user to communicate with the             representation of the second user on the graphical user
    second user in response to receiving from the first                interface , the first positive preference indication asso
     electronic device of the first user the first positive             ciated with a first gesture performed on the graphical
     preference indication regarding the second user and                user interface, wherein the first gesture comprises a first
     receiving from the second electronic device of the 35              swiping gesture ;
     second user the positive preference indication regard           wherein the processor is further operable to cause the
     ing the first user ;                                               graphical user interface to display a graphical repre
  receive from the first electronic device of the first user a          sentation of a second potential match of the set of
     first negative preference indication associated with a            potential matches instead of the graphical representa
     graphical representation of a third potential match on 40          tion of the first potential match ;
     the graphical user interface , the first negative prefer        wherein the interface is further operable to receive from
    ence indication associated with a second gesture per               a second electronic device of the second user a positive
     formed on the graphical user interface, the third poten           preference indication regarding the first user ;
     tial match corresponding to a third user, wherein the           wherein the processor is further operable to determine to
    second gesture comprises a second swiping gesture 45               allow the first user to communicate with the second
     different than the first swiping gesture ;                        user in response to receiving from the first electronic
  without allowing communication between the first user                device of the first user the first positive preference
     and the third user , receive from the first electronic            indication regarding the second user and receiving from
     device of the first user a second positive preference              the second electronic device of the second user the
     indication associated with a graphical representation of 50       positive preference indication regarding the first user ;
     a fourth potential match on the graphical user interface ,        and
     the second positive preference indication associated            wherein the interface is further operable to :
     with the first gesture performed on the graphical user            receive from the first electronic device of the first user
    interface , the fourth potentialmatch corresponding to a              a first negative preference indication associated with
     fourth user;                                             55          a graphical representation of a third potential match
  receive from a third electronic device of the fourth user a             on the graphical user interface , the first negative
     second negative preference indication associated with a              preference indication associated with a second ges
     graphical representation of the first user ; and                     ture performed on the graphical user interface , the
  without allowing communication between the first user                   third potential match corresponding to a third user ,
     and the fourth user, receive from the first electronic 60            wherein the second gesture comprises a second swip
     device of the first user a third positive preference                 ing gesture different than the first swiping gesture ;
     indication associated with a graphical representation of          without allowing communication between the first user
     a fifth potential match on the graphical user interface ,           and the third user, receive from the first electronic
     the third positive preference indication associated with             device of the first user a second positive preference
     the first gesture performed on the graphical user inter - 65         indication associated with a graphical representation
     face , the fifth potential match corresponding to a fifth            of a fourth potential match on the graphical user
    user.                                                                 interface , the second positive preference indication
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        associated with the first gesture performed on the                   of the first user a second positive preference indication
        graphical user interface , the fourth potential match                associated with a graphical representation of a fourth
        corresponding to a fourth user ;                                     potential match on the graphical user interface , the
     receive from a third electronic device of the fourth user               second positive preference indication associated with
        a second negative preference indication associated 5                 the first gesture performed on the graphical user inter
        with a graphical representation of the first user ; and              face, the fourth potential match corresponding to a
     without allowing communication between the first user                   fourth user;
       and the fourth user, receive from the first electronic             wherein there is a fourth user expression of a negative
       device of the first user a third positive preference                  preference for the first user; and
       indication associated with a graphical representation 10           without allowing communication between the first user
       of a fifth potential match on the graphical user                      and the fourth user, transmitting from the first elec
        interface , the third positive preference indication                 tronic device of the first user a third positive preference
       associated with the first gesture performed on the                    indication associated with a graphical representation of
       graphical user interface , the fifth potential match                  a fifth potential match on the graphical user interface ,
         corresponding to a fifth user.                           15         the third positive preference indication associated with
  5 . The system of claim 4 , wherein at least one or more of                the first gesture performed on the graphical user inter
the plurality of user on -line dating profiles is associated with          face , the fifth potential match corresponding to a fifth
a social networking platform .                                             user.
   6 . The system of claim 4 , wherein the processor is further        8 . The method of claim 7, wherein at least one or more of
operable to , in response to determining to allow the first user 20 the plurality of user on -line dating profiles is associated with
to communicate with the second user, cause the display of a             a social networking platform .
graphical notification on the graphical user interface of the             9 . The method of claim 7 , further comprising causing the
first electronic device of the first user, the graphical notifi-        display of a graphical notification on the graphical user
cation indicating that a match exists between the first user            interface of the first electronic device of the first user , the
and the second user and presenting an option for the first 25 graphical notification indicating that a match exists between
user to communicate with the second user.                               the first user and the second user and presenting an option
   7 . A computer implemented method of profile matching                for the first user to communicate with the second user.
comprising :                                                               10 . A system for profile matching, comprising :
   electronically transmitting from a first electronic device of          an interface operable to electronically transmit from a first
     a first user a first request for matching ;                   30        electronic device of a first user a first request for
   causing the display of a graphical representation of a first             matching ;
     potential match of a set of potential matches to the first           a processor coupled to the interface and operable to cause
     user on a graphical user interface of the first electronic              the display of a graphical representation of a first
     device , the first potential match corresponding to a                   potential match of a set of potential matches to the first
     second USEI
            user;,                                                           user on a graphical user interface of the first electronic
  wherein the set of potential matches for the first user are               device , the first potential match corresponding to a
     determined from a plurality of user online dating pro                   second user ;
     files in response to the first request for matching ;                wherein the set of potential matches for the first user are
  wherein the plurality of user online dating profiles each                  determined from a plurality of user online dating pro
     comprises traits of a respective user;                        40        files in response to the first request for matching;
  transmitting from the first electronic device of the first              wherein the plurality of user online dating profiles each
     user a first positive preference indication associated                  comprises traits of a respective user ;
     with the graphical representation of the second user on              wherein the interface is further operable to transmit from
     the graphical user interface , the first positive preference           the first electronic device of the first user a first positive
     indication associated with a first gesture performed on 45             preference indication associated with the graphical
     the graphical user interface , wherein the first gesture                representation of the second user on the graphical user
     comprises a first swiping gesture ;                                     interface, the first positive preference indication asso
  causing the display on the graphical user interface of a                   ciated with a first gesture performed on the graphical
     graphical representation of a second potentialmatch of                  user interface , wherein the first gesture comprises a first
     the set of potential matches instead of the graphical 50                swiping gesture ;
     representation of the first potential match ;                        wherein the processor is further operable to :
  allowing the first user to communicate with the second                    cause the display on the graphical user interface of a
    user in response to the first electronic device of the first               graphical representation of a second potential match
    user transmitting the first positive preference indication                 of the set of potential matches instead of the graphi
    regarding the second user and a second user expressing 55                   cal representation of the first potential match ; and
    a positive preference regarding the first user ;                         allow the first user to communicate with the second
  transmitting from the first electronic device of the first                   user in response to the first electronic device of the
    user a first negative preference indication associated                      first user transmitting the first positive preference
    with a graphical representation of a third potential                        indication regarding the second user and a second
    match on the graphical user interface , the first negative 60              user expressing a positive preference regarding the
    preference indication associated with a second gesture                     first user ;
     performed on the graphical user interface , the third                wherein the interface is further operable to :
     potential match corresponding to a third user , wherein                 transmit from the first electronic device of the first user
     the second gesture comprises a second swiping gesture                     a first negative preference indication associated with
    different than the first swiping gesture ;            65                    a graphical representation of a third potential match
  without allowing the first user to communicate with the                       on the graphical user interface, the first negative
     third user, transmitting from the first electronic device                  preference indication associated with a second ges
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     ture performed on the graphical user interface, the             fourth user, transmit from the first electronic device of
     third potential match corresponding to a third user,            the first user a third positive preference indication
    wherein the second gesture comprises a second swip               associated with a graphical representation of a fifth
    ing gesture different than the first swiping gesture ;           potential match on the graphical user interface , the
     and                                                             third positive preference indication associated with the
  without allowing the first user to communicate with the            first gesture performed on the graphical user interface ,
     third user, transmit from the first electronic device of         the fifth potential match corresponding to a fifth user.
    the first user a second positive preference indication         11 . The system of claim 10 , wherein at least one or more
    associated with a graphical representation of a fourth 10 of the plurality of user on - line dating profiles is associated
                                                              with   a social networking platform .
    potential match on the graphical user interface , the        12 .  The system of claim 10 , wherein the processor is
    second positive preference indication associated
    with the first gesture performed on the graphical user further     operable to cause the display of a graphical notifi
                                                              cation on the graphical user interface of the first electronic
     interface , the fourth potential match corresponding       device of the first user, the graphical notification indicating
     to a fourth user ;
wherein there is a fourth user expression of a negative 1515 that a match exists between the first user and the second user
                                                             and presenting an option for the first user to communicate
  preference for the first user ; and
wherein the interface is further operable to , without with the second user.
  allowing communication between the first user and the
